Case 23-20084-rlj7          Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57             Desc Main
                                      Document      Page 1 of 32




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Attorneys for Creditor Rabo AgriFinance LLC

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION


    IN RE:

    McCLAIN FEED YARD, INC., McCLAIN                           CASE NO. 23-20084-7-rlj
    FARMS, INC. and 7M CATTLE FEEDERS,
    INC.,                                                    (Jointly Administered Cases)

             Debtors. 1                                                 Chapter 7




1
 The Debtors in these jointly administered Chapter cases are: (a) McClain Feed Yard, Inc. (Case No. 23-
20084), (b) McClain Farms, Inc. (Case No. 23-20885) and 7M Cattle Feeders, Inc. (Case No. 23-20886).
All three cases are being jointly administered under the case number for McClain Feed Yard, Inc.
Case 23-20084-rlj7      Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57              Desc Main
                                  Document      Page 2 of 32




 RABO AGRIFINANCE LLC’S RESPONSE TO (A) FIRST INTERIM APPLICATION
     OF LYNN PINKER HURST & SCHWEGMANN, LLP, (B) FIRST INTERIM
 APPLICATION OF FEES AND EXPENSES OF JOBE LAW PLLC, (C) SECOND AND
   FINAL APPLICATION OF QUILLING, SELANDER, LOWNDS, WINSLETT &
 MOSER, P.C., AND (D) SECOND APPLICATION FOR ALLOWANCE OF FEES AND
                 EXPENSES OF LAIN, FAULKNER & CO, P.C.

        Rabo AgriFinance LLC (“Rabo”), a secured creditor of each of Debtors (collectively, the

“McClain Debtors”) in the above-entitled jointly administered cases, through counsel, hereby

files this Response to (a) the First Interim Application of Lynn Pinker Hurst & Schwegmann,

LLC (the “Lynn Pinker Application”) [Dkt. 312], (b) the First Interim Application for

Allowance of Fees and Expenses of Jobe Law PLLC (the “Jobe Application”) [Dkt. 311], (c) the

Second and Final Application for Allowance of Fees and Expenses of Quilling, Selander,

Lownds, Winslett & Moser, P.C. (the “Quilling Application”) [Dkt. 309], and (d) the Second

Interim Application of Lain, Faulkner & Co., P.C. (the “Lain Faulkner Application”) [Dkt.

310].

        The Lynn Pinker Application, the Jobe Application, the Quilling Application and the

Lain Faulkner Application are collectively referred to herein as the “Pending Fee

Applications,” and the professionals who have filed the Pending Fee Applications are

collectively referred to herein as the “Applicants.”

        For its response to the Pending Fee Applications filed by the Applicants, Rabo

respectfully states as follows:

        1.     In the Pending Fee Applications, the Applicants are requesting aggregate

compensation and reimbursement of expenses totaling $672,596.29. This comes on the heels of


                                                 2
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57             Desc Main
                                   Document      Page 3 of 32




prior awards from the Court totaling $410,969.18 to the Quilling Selander and Lain Faulkner

firms. Thus, if the Pending Fee Applications are allowed and paid in the amounts requested, the

Court will have authorized and approved $1,083,565.47 in professional fees to the Trustee’s

various retained professionals.

        2.     As the Court is no doubt aware, section 330(a)(1) of the Bankruptcy Code

provides that the Court may award “reasonable compensation for actual, necessary services

rendered by” Applicants. Section 330(a)(3)(C) specifies that, to determine whether the

applicants’ fees are “reasonable,” the Court must consider whether the Applicants’ services

were “necessary to the administration of, or beneficial at the time at which the service

was rendered toward the completion of,” this case. Section 330(a)(4)(A)(ii) explicitly

prohibits awarding fees for “services that were not (a) reasonably likely to benefit the

estate; or (b) necessary to the administration of” this case. See also In re Bird, 577 B.R. 365,

388 (B.A.P. 10th Cir. 2017) (denying a Chapter 7 trustee and his counsel’s fee applications as

containing services that “were neither necessary nor beneficial to the estate.”) “The burden is

on the party requesting fees to establish that its request is reasonable.” In re Mkt. Ctr. E.

Retail Prop., Inc., 730 F.3d 1239, 1246 (10th Cir. 2013).

       3.      Rabo has grave concerns about the amount of estate professional fees incurred in

this case to date given the relatively modest activity that creditors have seen from the Trustee and

his professionals; i.e., the Applicants. Indeed, to date, much of the activity that has been

undertaken to obtain discovery, assert claims, and narrow and refine issues has been led by the

creditors, such as Rabo and others, and not by the Trustee.


                                                  3
Case 23-20084-rlj7     Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57             Desc Main
                                  Document      Page 4 of 32




       4.      For example, Rabo prepared Rule 2004 motions and obtained Rule 2004 orders

authorizing Rabo to serve numerous document subpoenas on various parties. Rabo then served

those documents subpoenas, and voluntarily turned over tens of thousands of pages of documents

produced in response to the subpoenas to the Trustee and his professionals.

       5.      Rabo also filed Rule 2004 motions and obtained Rule 2004 orders authorizing

Rabo to conduct examinations of Meagan Goad, Jed Goad, Kinsey Moreland, Chelsea McClain

and Crystal McClain, conducted those examinations in Kentucky in July of this year, and then

provided copies of the examination transcripts to the Trustee and his professionals. No one

actively participated in these examinations on behalf of the Trustee.

       6.      And Rabo, of course, is the party that filed and has been prosecuting the Dealer

Trust adversary proceeding (Adv. No. 23-2005) in an attempt to get a handle on the over $120

million in alleged Dealer Trust claims. Rabo has already successfully eliminated tens of millions

of dollars in Dealer Trust claims by seeking and obtaining default judgments against numerous

non-responding defendants. Further, as the Court is aware, Rabo has moved for partial summary

judgment asking the Court to disallow on a final basis all of the Dealer Trust claims that the

USDA previously determined were presumptively invalid. While that motion is currently under

advisement, if the Court were to grant the motion that would leave less than $3 million in

remaining Dealer Trust claims to resolve.

       7.      Several months ago, Rabo’s counsel sent a letter to the Trustee’s counsel

outlining a number of very colorable claims the Trustee had against various McClain insiders,

including Chelsea McClain, Crystal McClain, Kristin McClain and Piper McClain. A copy of


                                                 4
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57              Desc Main
                                   Document      Page 5 of 32




that letter, which contained detailed information regarding outlining the claims and the evidence

supporting the insider claims, is attached hereto as Exhibit “A.”

       8.      To date, the Trustee has not pursued any of these insiders despite the fact that

Rabo has provided the Trustee and his professionals with all of the facts necessary to do so, and

more troublingly the Trustee has recently indicated that he may never pursue the claims.

        9.     In short, before approving the Pending Fee Applications, the Court must convince

itself that the fees requested by the Applicants are reasonable, considering the nature, extent and

value of the services provided, and taking into account all other relevant factors, including those

factors outlined in Section 330(a)(3)(A)-(F).

        10.    Another concern Rabo has regarding these Pending Fee Applications is the

administrative burn rate that is occurring in this case. One factor courts consider in deciding

whether to allow interim compensation is whether there is a “continuing need for funds to pay

the necessary administrative expenses likely to be incurred in completing the administration of

the case.” In re Com. Consortium of California, 135 B.R. 120, 125 (Bankr. C.D. Cal. 1991);

In re Four Star Terminals, Inc., 42 B.R. 419, 440 (Bankr. D. Alaska 1984) (“Another factor

to be considered in determining the amount of interim compensation to be paid is whether

there will be sufficient assets to cover all expenses of administration.”).

       11.     Here, the Trustee and his professionals have suggested that there is substantial

work yet to be done, and that these cases are only in their infancy. Indeed, the Trustee has

sought and obtained a stay of litigation involving numerous of the parties involved in these cases

and, in doing so, has (a) taken the position that many of the claims being asserted by the parties


                                                  5
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57               Desc Main
                                   Document      Page 6 of 32




are claims belonging to the bankruptcy estate, and (b) repeatedly reminded the Court that his

deadline to assert avoidance and other claims on behalf of the estate does not run until April of

2025, or two years from the date of the Debtors’ Chapter 7 filings.

       12.     The Court should be legitimately concerned about whether there will be sufficient

funds in the estate to pay all allowed administrative claims in full when this case concludes. The

only funds held by the Trustee that are arguably held by the Trustee free and clear are the

remainder of the $3 million in life insurance settlement proceeds that the Trustee obtained from

the settlement with Meagan Goad and Kinsey Moreland. And even those funds are not

indisputably held free and clear. The life insurance policies that generated the life insurance

proceeds were paid by the Debtors, and Rabo of course had a blanket lien on all assets of the

Debtors, including the Debtors’ cash collateral that funded the premiums.

       13.       But even assuming the life insurance settlement proceeds are held free and clear

by the estate, it is a virtual certainty given that the estate has already incurred almost $1.1 million

in administrative fees by the Applicants that the ultimate amount of potential administrative fees

that will be requested by the Applicants could easily meet or exceed the remaining life insurance

settlement proceeds.

       14.     Moreover, in addition to its concerns about whether all of the services rendered by

the Applicants were reasonable given the current status of this case and whether there will be

sufficient funds in the estate at the end of the day to pay all allowed administrative claims in full,

Rabo also has concerns about the estate having to pay two separate law firms for potentially

duplicative services.


                                                  6
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57             Desc Main
                                   Document      Page 7 of 32




       15.     “A debtor’s estate should not bear the burden of a duplication of services, and

such duplication should be avoided by counsel on their own initiative and, if nevertheless

documented by the record, disallowed by the court as ‘unnecessary . . .’” In re Liberal Market,

Inc., 24 B.R. 653, 664-65 (Bankr. S.D. Ohio 1982). Indeed, Section 330(a)(4)(A)(i) of the

Bankruptcy Code expressly states that “the court shall not allow compensation for unnecessary

duplication of services.”

       16.     On June 30, 2023, the Trustee filed a motion seeking to employ the Quilling

Selander firm as special counsel, with Mr. Jobe “as the primary counsel,” and indicated that he

chose that firm after having spent “considerable time investigating professionals that have prior

experience in similar cases and have current capabilities to provide the Trustee with a litigation

plan to identify and recover potential claims of the estate.” [Dkt. 69] The Court granted the

Trustee’s motion on July 6, 2023. [Dkt. 75]

       17.     Thereafter, Mr. Jobe left the Quilling Selander firm to start his own firm.

Because Mr. Jobe was apparently the “main contact” at that firm, the Trustee filed a motion on

August 13, 2024 to employ Jobe Law PLLC as special counsel. [Dkt. 277] In filing this Motion

seeking to employ Mr. Jobe, the Trustee again represented that he had “spent considerable time

investigating professionals that have prior experience in similar cases and have current

capabilities to provide the Trustee with a litigation plan to identify and recovery potential claims

of the estate.” [Id.] The Court granted the Trustee’s motion on August 14, 2024.

       18.     On August 13, 2024, the same date that he filed his motion to employ Mr. Jobe as

special counsel, the Trustee also filed a separate motion to employ the Lynn Pinker firm as


                                                 7
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57              Desc Main
                                   Document      Page 8 of 32




special counsel. [Dkt. 278] In filing this motion, the Trustee again represented that that he had

“spent considerable time investigating professionals that have prior experience in similar cases

and have current capabilities to provide the Trustee with a litigation plan to identify and recovery

potential claims of the estate.” [Id.] The Trustee also acknowledged his acute awareness “of the

potential for duplicative time spent in the transition from one firm to another,” and also noted

that Mr. Jobe would be “the primary counsel regarding the Ponzi scheme in this matter,” while

Lynn Pinker would be “the primary counsel regarding matters other than the Ponzi scheme in

this matter.” [Id.] The Court granted the Trustee’s motion on August 14, 2024.

       19.     As an initial matter, and particularly given the Trustee’s concerns about

unnecessary duplication in having multiple firms representing the estate which Rabo also shares,

it is not at all clear why the Trustee needs two different law firms to serve as special counsel in

this case, when originally one law firm—Quilling Selander—was engaged to handle everything.

Is either the Jobe firm or the Lynn Pinker firm incapable of providing all of the legal services

that the Quilling Selander could provide? And, even if there was a reason to engage the Jobe

firm to handle the Ponzi scheme aspects of the case, why didn’t the work that the Lynn Pinker

firm is apparently now doing stay with the Quilling Selander firm?

       20.     Furthermore, having reviewed the billing invoices attached to the Jobe and Lynn

Pinker Applications, it appears there has been duplication of services not only in what Jobe Law

and Lynn Pinker has been doing, but also amongst the professionals at Lynn Pinker. In fact,

there are entries where two or three Lynn Pinker professionals seem to be billing for the same

things, including corresponding with each other about the case.


                                                  8
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57             Desc Main
                                   Document      Page 9 of 32




       21.     Attached as Exhibit “B” are excerpts from the invoices attached to the Jobe and

Lynn Pinker Applications, with the entries that raise at least concerns about duplication being

highlighted for ease of reference. The Court should at least require those firms to justify these

entries as not being duplicative before approving their applications in full. See In re Sarkis Invs.

Co., LLC, 2019 WL 9243005, at *24 (Bankr. C.D. Cal. Sept. 5, 2019) (“The court finds that the

above billing entries were unnecessarily duplicative and that the estate should not have been

double billed for both professionals’ time at these conferences because only one attorney was

needed to appear. Accordingly, the court disallows one of each of the two duplicative billing

entries for frequent conferences, usually for the smaller amount, and the similar entries as set

forth in Table 7, Table 8, and Table 9 in the attached Exhibit A.”).

       22.     A further potential concern Rabo has regarding the Applications is the possibility

that in the Quilling Selander Application, the Quilling Selander firm may be requesting approval

of its fees and expenses on a final basis. The Quilling Selander Application expressly uses the

words “second and final application.” To the extent Quilling Selander is requesting interim

allowance of the last and final fee application it will be filing, Rabo has no objection to the Court

allowing all fees and expenses requested in the Quilling Selander Application on an interim

basis. However, final allowance of any fees and expenses—including those requested in the

Quilling Selander Application—should wait until the end of the case to insure there are enough

funds to pay all allowed administrative claims in full, and any awards should only become

“final” upon approval of a final report at the conclusion of the case. See In re NETtel Corp.,

2020 WL 2047965, *19 (Bankr. D.D.C. 2020) (bankruptcy court has authority until approval of a


                                                  9
Case 23-20084-rlj7      Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57                Desc Main
                                  Document     Page 10 of 32




final report “to order disgorgement of payments under interim orders to assure compliance with §

726(b)”).

       23.     Based upon the foregoing, Rabo respectfully requests the following relief as it

relates to the Pending Fee Applications: 2

       A.      First, that the Court satisfy itself that all fees requested in all Pending Fee

Applications are compensable under Section 330 of the Bankruptcy Code, including by finding

that all requested fees are reasonable under the applicable legal standards and that they were

necessary to the administration of the estate, or beneficial at the time at which the service

was rendered toward the completion of this case.

       B.      Second, that the Court satisfy itself that there has been no improper duplication of

services which would result in the estate being charged more than it should have been charged

for legal services, including duplication in services between the services rendered by the Jobe

firm and the services rendered by the Lynn Pinker firm, and also between the various

professionals of Lynn Pinker who have been working on this matter.

       C.      Third, with respect to all compensation awarded under the Pending Fee

Applications, the Court should expressly direct that such compensation is interim only, that the

Court’s award is subject to revision at any time prior to any awards becoming final, and that any




2
 While a relatively minor issue, Rabo notes that the Lynn Pinker Application also requests $630.00 in
compensation for services performed on July 12, 2024. This is outside the 30-day window established by
Local Rule 2014-1 for retroactive approval of employment, as the motion to approve Lynn Pinker’s
employment was not filed until August 13, 2024.


                                                 10
Case 23-20084-rlj7     Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57           Desc Main
                                 Document     Page 11 of 32




and all interim compensation awarded and paid in this case may be subject to disgorgement if the

estate becomes administratively insolvent.

       24.    Fourth, the Court should make clear in any order approving the Pending Fee

Applications that any funds paid to the Applicants will come solely from the remaining amount

of life insurance proceeds the Trustee recovered from the various McClain family members, and

not from any other sources.

       DATED this 6th day of December, 2024.

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                                     /s/ Michael R. Johnson
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                                               11
Case 23-20084-rlj7       Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57         Desc Main
                                   Document     Page 12 of 32




                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2024, the foregoing document was filed with the

Clerk of the Court in each of the foregoing Chapter 7 cases using the CM/ECF system, which

sent notice of electronic filing to all electronic filing users in each case.



                                        /s/ Michael R. Johnson
                                        Michael R. Johnson




                                                   12
Case 23-20084-rlj7   Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57   Desc Main
                               Document     Page 13 of 32




                                EXHIBIT A
                Case 23-20084-rlj7      Doc 314      Filed 12/06/24 Entered 12/06/24 11:47:57              Desc Main
                                                    Document     Page 14 of 32

                                               RAY QUINNE Y & NEBEKE R




                                                                                                                 ATTORNEYSATLAW

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                                                         September 27, 2024
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                         VIA EMAIL AND REGULAR MAIL
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Salt Lake City, Utah    Email: adabdoub@ lynnllp.com                                                           Steven W. Cc1 II

84111                                                                                                          Sally B. McMinnnee
                        Re:    In re McClain Feed Yard, Inc., In re McClain Farms, Inc. and In re 7M           Steven G. Jones
                               Cattle Feeders, Inc., Case No. 23-20084-rlj (Jointly Administered);             Mark A. Cotter
801 532-1 S00TEL
                               Demand for Pursuit of Claims Against Crystal McClain, Chelsea                   Greggory J. Savage
801 532-7543FAX
                               McClain, Piper McClain and Kristin McClain                                      Kelly J. Applegate
www rqn.com
                                                                                                               Justin T. Toth
                        Dear Kent:                                                                             liesel 8. Stevens

                                                                                                               Roberto. Rice
                                As you know, the McClain bankruptcy cases have been pending since              Arthur B. Berger
                        April 28, 2023; nearly a year and a half. As you also know, Rabo has been active       Rick Thaler
                        in the McClain bankruptcy cases from the very beginning and has expended a             John W. Mackay
                        substantial amount of money and effort conducting Rule 2004 discovery (both            McKay M. Pearson
                        document discovery and Rule 2004 examinations) that has provided critical              Mark W. PLJgsley
                        information for you as the Trustee of the McClain bankruptcy estates.                 Matthew N. Evans

                                                                                                              Gary L. Longmore
                                Among the discovery that Rabo has obtained and shared with you are (a)        John P. Wunderli
                        the records Rabo obtained from various insurance companies who insured Brian          Michael R. Jollnson
                        McClain's life, (b) the records regarding Brian ' s divorce from his former wife      E. Blaine Rawson
                        Crystal McClain and the financial obligations Brian was required to assume            Sarnuel C. Straight
                        arising from that divorce case, and (c) the transcripts of the Rule 2004              Paul C. Burke
                        examinations that Rabo conducted in July in Kentucky of Crystal McClain,              Elaina M. Maragakis

                                                                                                              D. Zachary Wiseman

                                                                                                              Michael D. Mayfield

                                                                                                              Bryan K. Bassett

                                                                                                              Kamie F. BrolNl'l
                                                A   PROFESSIO NAL   CORPORATI ON                              Gregg D. Stephenson

                                                                                                              Kristine M. Larsen

                                                                                                              Gregory S. Roberts

                                                                                                              Ct1ristopt1e r N. Nelson
Case 23-20084-rlj7     Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57                 Desc Main
                                 Document     Page 15 of 32




        Chelsea McClain, Meagan Goad, Jed Goad, and Kinsey McClain. 1 In fact, as a
        direct result of the information that Rabo uncovered and provided to you at its
        cost, you learned early on in the case that Meagan and Kinsey had each received
        $3,388,688.00 in life insurance proceeds after Brian passed away, for a total of
        $6,777,336.00 in life insurance proceeds. And you also learned that the McClain
        entities, not Brian McClain personally, had funded all of the premiums for the life
        insurance policies that paid out those insurance settlements. As a result thereof,
        you entered into and obtained court approval of a settlement with Meagan and
        Kinsey whereby each of them paid to you, for the benefit of the estate,
        $1,500,000.00, for a total settlement of $3,000,000.00. As part of the motion you
       filed seeking approval of the settlement, you stated that, in addition to recovering
       a substantial portion of the overall policy proceeds from Meagan and Kinsey,
       Meagan and Kinsey had agreed to "aid the Trustee in his administration of the
       estate, including pursuit of claims against third-parties." [Dkt. 147, pg. 6] You
       also articulated all of the things that Meagan and Kinsey had agreed to do as part
       of the "cooperation obligation," and noted that "the cooperation obligation will
       aid in a more efficient investigation and higher recovery of claims against third-
       parties, which will benefit the estate." [Id., pg. 8; Dkt. 162] In short, there were
       two critical components to the settlement you reached with Meagan and Kinsey
       regarding the life insurance proceeds they received, both of which you believed
       were substantially beneficial to the estate. The first was the $3,000,000.00 in total
       payments the estate would receive from the settlement. The second was the
       "cooperation obligation" that Meagan and Kinsey agreed to as additional
       consideration for the settlement.

               As you know both from the documents that Rabo has turned over to you as
       a result of its Rule 2004 discovery and as a result of the examinations that Rabo
       took in July, the bankruptcy estate also has the following compelling avoidance
       claims against the following McClain insiders:

                  •   Chelsea McClain: Chelsea McClain, Brian's widow, received
                      $980,000.00 in life insurance proceeds when Brian died, which
                      proceeds were paid from a life insurance policy at Prudential that
                      the McClain Debtors entirely funded (Meagan and Kinsey also
                      received proceeds from the Prudential policy).



       1
         Rabo also of course paid to secure possession of all records of the McClain
       Debtors when Brian McClain committed suicide and cattle and other property was
       being removed, so that those records would not be lost, concealed or destroyed. It
       then provided, at its cost, images of all those records and, when you asked for
       their return, Rabo paid to send them back to you. Many of these records likely
       would not be unavailable had it not been for Rabo' s efforts.
                                                  2
Case 23-20084-rlj7      Doc 314     Filed 12/06/24 Entered 12/06/24 11:47:57                Desc Main
                                   Document     Page 16 of 32




                    •   Kristin McClain: Kristin McClain is one of Brian's daughters with
                        his ex-wife Crystal. Kristin also received $3,388,688.00 in
                        insurance proceeds (the same amount as Meagan and Kinsey)
                        under the same seven insurance policies identified in your
                        settlement agreement with Meagan and Kinsey.

                   •    Piper McClain: Piper McClain is one of Brian's daughters with his
                        ex-wife Crystal. Piper also received $3,388,688.00 in insurance
                        proceeds (the same amount as Meagan and Kinsey) under the same
                        seven insurance policies identified in your settlement agreement
                        with Meagan and Kinsey.

                   •     Crystal McClain: Crystal McClain is Bryan's ex-wife. Pursuant to
                         the Marital Settlement Agreement, dated September 11, 2020,
                         entered in their divorce case, Brian was ordered to make periodic
                         cash payments to Crystal totaling $1,700,000.00 as a "buy out" of
                         Crystal's interest in the McClain Debtors and other marital assets.
                         He also was ordered to obtain a life insurance policy naming
                         Crystal as beneficiary to guarantee the $ I. 7 million in payments in
                        the event Brian should pass away. In 2021 and 2022, Brian caused
                         McClain Farms to issue several checks to Crystal on both the
                        McClain Farms CFSB account and the McClain Farms Mechanics
                        Bank account totaling $1,150,000.00. Crystal admitted receiving
                        these payments, drawn on the McClain Farms bank accounts,
                        during her Rule 2004 examination. Crystal also admitted during
                        her Rule 2004 examination that she also received $550,000.00 in
                        life insurance proceeds, which proceeds were paid from the
                        Cincinnati Life Policy that Brian obtained after the divorce
                        (Meagan, Kinsey, Piper and Kristin also received proceeds under
                        this policy).

                As the foregoing illustrates, the bankruptcy estate clearly has compelling
       Chapter 5 avoidance claims against Chelsea, Kristin, Piper and Crystal having a
       total face value of no less than $9,457,376.00 ($980,000.00 + $3,388,688.00 +
       $3,388,688.00 + $1,700,000.00). For some reason, however, you have yet to
       pursue these very meritorious claims, despite acknowledging their validity in
       numerous prior discussions. The legal theories regarding the life insurance
       payments made to these McClain insiders would be the very same legal theories
       you used to obtain a $3,000,000.00 settlement with Meagan and Kinsey. You
       obtained a 44.265% recovery on the life insurance proceeds paid to Meagan and
       Kinsey and, given that you would not need a "cooperation obligation" from
       Chelsea, Kristin, Piper or Crystal, the settlement value of the life insurance claims
       against these McClain insiders would obviously exceed that percentage.

                                                  3
Case 23-20084-rlj7     Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57                Desc Main
                                 Document     Page 17 of 32




                With respect to claims against Crystal related to the $1,150,000.00 in cash
        she received from McClain Farms, those payments are clearly avoidable under
        (among other legal theories) Section 548(a)(l) (B) of the Bankruptcy Code.
        McClain Farms received no value from Crystal in return for these transfers, let
        alone reasonably equivalent value as required by the Code. McClain Farms, a
        fraudulent enterprise that was engaged in both a Ponzi scheme and a check-kiting
        scheme, was clearly insolvent when the payments were made.

                 While Rabo acknowledges that a Chapter 7 trustee such as yourself has an
        outside date of two years from the Petition Date to assert avoidance claims under
        Section 546(a) of the Bankruptcy Code, the fact that you have not already asserted
       these very meritorious claims against Chelsea, Kristin, Piper and Crystal is
       extremely troubling. Unlike potential avoidance or other claims the estate may
        assert in this case against large corporate defendants such as Mechanics Bank and
       CFSB, which claims would be fully collectable regardless of when they are
       asserted, the fact that you have delayed asserting these claims against these
       individuals could substantially prejudice and harm the bankruptcy estate and the
       creditors you are supposed to be looking out for. It has been over a year since the
       life insurance payments were made, and it has been several years since Crystal
       received the direct payments from McClain Farms. Who knows what these
       insiders have done with the funds since they received them. They may have been
       dissipated. They may have been used to acquire assets that would now be exempt.
       Or they may have been transferred to third patties. In any event, it is clear that,
       because of the inexplicable delay in asserting these claims, it will now be more
       difficult to actually turn these claims into cash recoveries that could be used to
       compensate the victims of the McClain Debtors' 'fraud, including Rabo.

               Further, these are not the only compelling claims the estate has against the
       McClain insiders. As you know, your settlement with Meagan and Kinsey and
       their husbands expressly limited the releases they received to releases of claims
       related to the insurance proceeds they received, and any claims against Meagan or
       Kinsey for receipt of annual salaries of $60,000.00 or less. All other claims were
       preserved.

               We provided to you many months ago several excel spreadsheets listing
       the non-wage monetary transfers that the McClain Debtors made to various
       insiders, including Meagan, her husband Jed Goad, Jed's company JLE Trucking,
       and Kinsey. Those excel spreadsheets show as follows:

                   •   Between January 2, 2018 and April 7, 2023, Kinsey received
                       $31,898.94 in non-payroll transfers from the McClain Farms
                       Mechanics Bank account, and $80,949.86 from the McClain
                       Farms CFSB account, for total non-payroll transfers of
                       $112,848.80;

                                                4
Case 23-20084-rlj7       Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57                   Desc Main
                                   Document     Page 18 of 32




                     •   Between February 5, 2018 and April 19, 2023, Meagan received
                         $200,000.12 from the McClain Farms Mechanics Bank account,
                         $1,129,338.28 from the 7M Cattle Feeders Mechanics Bank
                         account, $2,411,525.30 from the McClain Feed yard Mechanics
                         Bank account, and $162,400.87 from the McClain Farms CFSB
                         account, for total non-payroll transfers of $3,903,264.57;

                     •   Between March 1, 2019 and March 31, 2023, Jed Goad received
                         $88,368,76 from the McClain Farms Mechanics Bank account,
                         $14,6 I 3 .51 from the 7M Cattle Feeders Mechanics Bank account,
                         and $156,057.02 from the McClain Farms CFSB account, for a
                         total of $262,614.31; and

                    •    Between February 21, 2018 and March 31, 2023, JLE Trucking
                         received transfers $5,026,942,55 from the McClain Farms
                         Mechanics Bank account and $3,270,659.10 from the McClain
                         Farms CFSB account, for a total of $8,947,762.21.

                During their Rule 2004 examinations, Meagan and Kinsey did not provide
       any reasonable justification or explanation for the non-payroll transfers they
       received. In fact, at least as it relates to Meagan, it became crystal clear during
       the examination that she was an active participant in the fraudulent McClain
       enterprise and that money was being transferred by the McClain Debtors to her,
       and from her back to the McClain Debtors, in order to prop up and perpetuate the
       fraud and the check-kiting scheme. As an example of that, Meagan signed on
       behalf of McClain Feedyard a wire transfer form on January 23, 2023 Qust a few
       months before the bankruptcy filing) and thereby initiated a $448,981.43 wire
       from the McClain Feedyard account at Mechanics Bank to her personal account at
       First Kentucky Bank. During her examination, Meagan testified that she had no
       paperwork to support the transaction, and that "Brian had all the paperwork." She
       also testified that "I would write him a check. He would wire me the money
       back."

               Because Meagan was an active participant in the McClain Debtors'
      fraudulent activities, the entirety of all transfers she received are recoverable, and
      she is not entitled to any "credit" for the money she sent back to the McClain
      Debtors as a person who acted in good faith. But even if she were entitled to
      credits, she received $3,903,264.57 from the McClain Debtors and she only
      returned $2951,666.09 back to the McClain Debtors, and was a "net winner" in
      the amount of $951,598.48.




                                                5
Case 23-20084-rlj7     Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57                   Desc Main
                                 Document     Page 19 of 32




                As it relates to Jed Goad and his company JLE Trucking, some of the
        funds paid to him may have been for legitimate reasons, such as the transportation
        and hauling of cattle. However, Mr. Goad has only supplied two years of
        trucking records going back to 2021 and has provided nothing to support the
        payments that he and/or JLE received between 2018 and 2020. Further, Mr. Goad
        did not have a credible explanation for some of the large cash transfers that he
        personally received from the McClain Debtors.

               Rabo is the largest creditor of the McClain Debtors' bankruptcy estates.
       Rabo has repeatedly asked you to pursue additional claims against the McClain
       insiders, including the claims highlighted in this letter. Rabo has also repeatedly
       stressed the need to timely pursue these claims so that the funds these McClain
       insiders received are not dissipated, lost, or converted into exempt assets. Thus
       far, Rabo's requests have fallen on deaf ears. Notably, your new counsel seems
       openly hostile to Rabo for inexplicable reasons and unwilling to work with us in
       good faith to resolve issues. He has also continued to exhibit disinterest in
       pursuing the obvious claims detailed in this letter. This unwarranted escalation
       and failure to pursue claims has brought my client's patience to an end.

                As you likely are aware, both Judge Jernigan, in In re Cooper, 405 B.R.
       801 (Bankr. N.D. Tex. 2009), and Judge Jones, in In re Wilson, 527 B.R. 253
       (Bankr. N.D. Tex.2015), held that, in Chapter 7 cases, a creditor or other third
       party generally may not be granted derivative standing to pursue avoidance
       actions on behalf of the bankruptcy estate. In both decisions, however, Judges
       Jernigan and Jones noted that, if a Trustee fails to exercise his or her fiduciary
       duty to pursue valuable and meritorious avoidance actions, then a creditor or other
       party in interest may file a motion asking the Bankruptcy Court to compel the
       trustee to act, or alternatively to ask the Bankruptcy Court to remove the trustee
       and appoint a new trustee to pursue the claims.

               Rabo demands that you either file claims against the McClain insiders or
       settle and resolve the claims and file a Rule 9019 motion to approve by October
       31, 2024. If you fail to do so, Rabo will have no choice but to bring this matter to
       the attention of Judge Jones.




                                                6
Case 23-20084-rlj7       Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57               Desc Main
                                   Document     Page 20 of 32




                  Thank you. Please let me know if you would like to discuss this matter
        fmther.

                                               Sincerely,

                                                                                 C.



                                               Michael R. Johnson
       MRJ/mj

       cc:        RAF Team (via email only; w/out encls.)
                  Heath Hendricks, Esq.
                  Matthew Cannon, Esq.




                                                 7
Case 23-20084-rlj7   Doc 314    Filed 12/06/24 Entered 12/06/24 11:47:57   Desc Main
                               Document     Page 21 of 32




                                EXHIBIT B
            Case23-20084-rlj7
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INVOICE
Jobe Law PLLC                            hjobe@jobelawpllc.com
6060 N Central Expy                      +1 (214) 807-0563
Ste 500                                  www.jobelawpllc.com
Dallas, TX 75206-5249




Bill to
McClain Feedyard - Investigation of Claims




Invoice details
Invoice no.: 1018
Invoice date: 11/15/2024
Due date: 12/15/2024




    Date                Description                                                  Qty     Rate    Amount


    07/10/2024          Review/revise LP engagement terms, follow up on              0.6   $400.00    $240.00
                        same(.6). (HJ)


    07/15/2024          Review documents and case issues in preparation              4.4   $400.00   $1,760.00
                        for depositions of KY family members(1.6); Attend
                        initial deposition(1.0); Review related documents to
                        transfers and operations(.8); Attend second
                        deposition of KY family members(1.0). (HJ)


    07/16/2024          Review documents in preparation for Goad                     6.1   $400.00   $2,440.00
                        deposition and attend deposition(4.5); Review rabo
                        discovery documents, respond to Rabo re same and
                        objections thereto(1.2); Review and organize prior
                        Rabo production(.9). (HJ)


    07/18/2024          Call with LF re documents and financial analysis (1.0);        4   $400.00   $1,600.00
                        Research and analysis of                             (.8);
                        Work on outline of outstanding documents(.7); Review
                        updated DB records from LF(1.5). (HJ)


    07/19/2024          Review and organize relevant file documents for              2.2   $400.00    $880.00
                        transmission to LP for follow up on discovery matters
                        and potential                             suits(2.2). (HJ)


    07/21/2024          Review various issues and arguments concerning               1.4   $400.00    $560.00
                        Rabo                    outline same for LP follow
                        up(1.4). (HJ)


    07/23/2024          Conference with litigation counsel on case                   3.9   $400.00   $1,560.00
                        background(.9); Lengthy review and outline of case
                        background and documents for special counsel use
                        of evaluating certain claims and parties(3.0).
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                Review various documents         to Filed
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                                         related          11/15/24
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                backup documentation, outstanding        A Page 3
                                                  items needed, 23ofof932
                and cash tracing(1.7); Follow up with LF regarding
                same(.3); Further review and analysis of Rabo
                production, sorting of documents, and various
                outstanding documents and issues(2.0). (HJ)


07/26/2024      Review/revise Rabo Motion to Compel(.7). (HJ)               0.7      $400.00           $280.00


07/30/2024      Review Rabo discovery motion, prepare NOH and               0.7      $400.00           $280.00
                coordinate setting with parties(.7). (HJ)


07/31/2024      Additional review and analysis of Riley documents,          3.5      $400.00          $1,400.00
                outline search and tag terms, follow up with discovery
                review team on same(3.5). (HJ)


08/01/2024      Outline issues and instructions for Riley review/sort       1.8      $400.00           $720.00
                by invoice type, coordinate same with document
                review team(1.8). (HJ)


08/02/2024      Lengthy review and analysis of bank and accounting          3.2      $400.00          $1,280.00
                firm productions, outstanding bank and accounting
                firm discovery, and related case documents(3.0);
                Follow up with accountants and counsel on same(.2)
                (HJ)


08/05/2024      Coordinate amended setting on Rabo discovery                2.5      $400.00          $1,000.00
                motion, prepare amended NOH(.5); Continue working
                with parties on Rabo review and discover dispute
                issues(2.0). (HJ)


08/07/2024      Several correspondence and conferences with                 1.5      $400.00           $600.00
                parties on Rabo and Carr Riggs discovery
                materials(1.5). (HJ)


08/08/2024      Review outline of Rabo production, review Rabo              5.4      $400.00          $2,160.00
                materials, and outline additional items to add for Rabo
                discovery(1.5); Continue review and analysis of Riley
                production and information relevant to purchases and
                sales(2.0); Update discovery index on same(.9);
                Several correspondence and conferences with
                parties on outstanding discovery issues(1.0). (HJ)


08/09/2024      Review documents in preparation for conference with         1.2      $400.00           $480.00
                discovery review team on outstanding discovery
                review(.5); Conference with parties on same(.7). (HJ)


08/14/2024      Review lengthy draft LP memo on possible claims             3.5      $400.00          $1,400.00
                and related issues(.5); Review prior briefing and
                prepare updated analysis of various issues in
                connection with                   claims(2.0);
                Conference and correspondence
                                    issues(.5); Conference with Trustee
                on various case issues (.5). (HJ)


08/15/2024      Review                    emails with counsel on            0.5      $400.00           $200.00
                same(.5). (HJ)


08/16/2024      Initial review of probate pleadings and analysis of         2.5      $400.00          $1,000.00
                potential claims/issues(1.5); Initial review of indexed
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   LYNN
  .PINKER
   HURST &
   SCHWEGMANN

  LYNN PINKER HURST & SCHWEGMANN, L.L.P.
 2100 Ross Avenue, Suite 2700
 Dallas, Texas 75201
 Phone: 214.981 .3800
 www.lynnllp.com
                                                                                               Invoice# 20243162
                                                                                                 Date: 08/20/2024
                                                                                               Due On: 09/19/2024



 Kent Ries
 Law Office of Kent Ries
 P.O . Box 3100
 Austin, TX 79116




  (5707-00001) Ries: In Re McClain Farms, Inc.; In Re McClain Feed Yard,
  Inc.; and In Re 7M Cattle Feeders, Inc.

  In Re McClain Farms, Inc.; In Re McClain Feed Yard, Inc.; and In Re
  7M Cattle Feeders, Inc.
  Client Reference Number:


   Services

     Date       TK         Descripti<>n                                                        Hours       Total

   07/12/2024   AD         Teams meeting with Messrs. Ries, Jobe and Rae regarding-              1.40    $630 .00


   07/15/2024   AD         Telephone conference with Mr. McClain regarding case                  0.30    $135.00
                           background .

  07/15/2024    AD         Email to Messrs. Jobe and Faulkner regarding                          0.10     $45.00

   07/16/2024   WG         File and document management (1.0);                                   2.30    $460.00
                           prepare index and electronic notebook for team discussion (1.3) .

   07/16/2024   AD         Telephone conference with Mr. Jobe regarding                          0.20     $90.00

   07/16/2024   AD         Review email from Mr. Jobe regarding Rabo discovery.                  0.20     $90.00

   07/17/2024   WG         Prepare notebook for Mr. Dabdoub containing key documents for         3.00    $600.00
                           team discussion regarding strategy (1.0);




                                                      Page 1 of 5
 Case23-20084-rlj7
Case  23-20084-rlj7 Doc
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                          Exhibit Exhibit APage
                            Document         Page
                                                25 3ofof3237




                      prepare notebook for Mr. Sode containing key documents for team
                      discussion regarding strategy (1 .0);
                      prepare notebook for case file containing key documents for team
                      discussion regarding strategy (1.0).
                                                  - - - -·-.• - - ·· - -- -   - - - ·-- ---



   07/18/2024   PCS   Case team strategy meeting regarding motion to compel for service                     1.20        $420.00
                      on Rabobank (0.7).

                      Case synopsis discussion with Ms. Gillaspie regarding key issues,
                      potential defendants, and documents (0.5).
                        - - ------~----• -



  07/18/2024    AD    Telephone conference with Messrs. Rae and Jobe regarding cash                         1.10        $495.00
                      tracing.

  07/18/2024    AD    Analysis o f - documents.                                                             0.50        $225.00

  07/18/2024    AD                                                                       privilege issue.   0.50        $225.00
                                                                                                                     ---------    -----

  07/18/2024    WG    Extract files received from Lain Faulkner and maintain in case file                   1.10        $220.00
                      (0.6);
                      meet and confer with Mr. Sode regarding case (0.3);
                      review and maintain attorney notes regarding case development
                      received from Mr. Dabdoub (0.2).

  07/19/2024    WG    Review email from Hudson Jobe (0.2);                                                  1.00        $200.00
                      prepare for meeting with Mr. Dabdoub to discuss document review
                      and production (0.5);
                      meeting regarding the above (0.3).
                       ------- --~--- ·-     ,,   ______________
   07/19/2024   AD    Analysis of background documents.                                                     1.00        $450.00
                        ---~---~---          - ----------                                                          ----------    ·-··-----

   07/19/2024   AD    Telephone conference with Mr. Jobe regarding status.                                  0.20           $90.00

   07/22/2024   PCS   Analyze documents and other materials transmitted from                                6.80     $2,380.00
                      bankruptcy counsel to establish key facts and issues in matter in
                      connection with motion to compel discovery from Rabo and Focus
                      (4.1).

                      Begin drafting and revising motion to compel discovery from Rabo
                      and Focus, specifically factual background and beginning of legal
                      argument (2.7).

   07/22/2024   WG    Review email from Hudson Jobe regarding index and labeling                            7.70     $1,540.00
                      documents, access and download all files in the various links,
                      structure the documents (1.2);
                      schedule call with Mr. Jobe to discuss index and documents (0.1);
                      extensive analysis of recently received case files to determine
                      document management and organization for the purpose of
                      indexing and document preparation for upcoming productions, draft
                      spreadsheet providing outline of folders, sub-folders and the
                      contents for case development (5.9);
                      prepare outline of questions for conference call with Mr. Jobe
                      scheduled for tomorrow (0.5).

   07/22/2024   AD                                                                        issues.           0.50         $225.00

   07/22/2024   AD    Teams meeting with Messrs. Ries, Jobe and Rae regarding case                          1.00         $450.00
                      status and next steps.




                                                                                         Page 2 of 5
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                                                26 4ofof3237




  07/22/2024   AD    Exchange emails with Mr. Jobe regarding                                0.20      $90.00

  07/23/2024   PCS   Continue drafting and revising motion to compel , specifically legal   7.30   $2,555 .00
                     arguments about privilege, undue burden, overbreadth,
                     confidentiality, relevance, Bankruptcy Rule 2004, and generally
                     applicable court rules (3.9).

                     Analyze legal authorities pertinent to foregoing objections for
                     purpose of synthesizing briefing points (3.2).

                     Email correspondence with case team regarding motion to compel
                     (0.2).

  07/23/2024   WG    Prepare for meeting and revise outline of questions regarding          2.10    $420.00
                     indexing and document review, additional revisions to spreadsheet
                     (1 .1);
                     conference call with Mr. Hudson and Mr. Dabdoub (1 .0) .

  07/23/2024   AD    Attention to Rabo documents.                                           1.00     $450 .00

  07/23/2024   AD    Conference with Mr. Jobe and Ms. Gillaspie regarding indexing and      1.00     $450.00
                     document management.

  07/23/2024   AD    Review email from Mr. Jobe regarding protective order.                 0.10      $45.00

  07/24/2024   WG    Perform further analysis of files outlined on the spreadsheet per      2.30     $460.00
                     discussion with team , identify duplicates, revise to exclude
                     electronic documents and determine file size of documents to be
                     reviewed for database (2.0);
                     call with Lino Gonzalez at Pinnacle to confirm pricing for the
                     calculated file size (0.2);
                     email to Hudson Jobe providing details of the document review
                     database and the updated spreadsheet (0.1).

  07/24/2024   PCS   Finalize first draft of motion to compel and supporting appendix and   1.10     $385.00
                     circulate to case team for pre-circulation review (1.1 ).

  07/24/2024   AD    Edit Motion to Compel Production of Documents from Rabo.               3.50   $1 ,575 .00

  07/26/2024   WG    Review of Appendix in comparison with the brief to ensure ready        0.60     $120.00
                     for filing (0.2);
                     review rules to determine response deadline and analyze for future
                     fil ings (0.4) .

  07/26/2024   AD    Telephone conference with Mr. Jobe regarding motion to compel          0.20      $90.00
                     Rabo to produce documents.

  07/26/2024   AD    Final review for filing of motion to compel Rabo to produce            0.50     $225.00
                     documents.

  07/29/2024   WG    Follow-up email to Hudson Jobe regarding the document review           0.10      $20.00
                     platform.

  07/30/2024   WG    Access court portal and add Mr. Sode and myself on the service list    1.60     $320.00
                     (0.2) ;
                     call with Bankruptcy Division to ensure the above (0.2) ;
                     begin downloading, reviewing and maintaining files received from
                     Hudson Jobe in the case file (1 .0) ;




                                                 Page 3 of 5
 Case23-20084-rlj7
Case  23-20084-rlj7 Doc
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                            Document         Page
                                                27 5ofof3237



                          review setting of hearing on Trustee's Motion to Compel and pull
                          Judge Jones' Hearing Dates and Calendar for inclusion on the
                          entry, revise calendar accordingly (0.2).

  07/30/2024    AD        Telephone conference with Mr. Jobe regarding hearing on motion                         0.10              $45.00
                          to compel Rabo.

  07/30/2024    AD        Review Notice of Hearing on motion to compel Rabo.                                     0.10              $45.00

  07/31/2024    WG        Attention to email regarding re-noticing of hearing on Trustee's                       2.50           $500.00
                          Motion to Compel, note accordingly on calendar (0.1 );
                          continue extensive analysis of files received from Mr. Jobe, identify
                          corrupt files and re-download, determine file size of documents
                          associated with Riley Livestock (2.0) ;
                          call with Mr. Jobe (0.2) .

  07/3 1/2024   AD        Telephone conference with Mr. Jobe regarding status.                                   0.10              $45.00

                                                                                   Services Subtotal                      $16,810.00



  Expenses

     Date       Description                                                             Quantity                 Price                  Total

  07/31/0024    Postage                                                                            1.00         $11.70             $11 .70

  07/31/0024    Westlaw research for Julu 2024.                                                    1.00          $1 .22                $1 .22
                                                                                         --~.---    ---·----~

                                                                                   Expenses Subtotal                               $12.92



  Time Keeper                            Position                         Hours                           Rate                          Total

  Alan Dabdoub                            Partner                           13.8                    $450.00                $6,210.00

  Campbell Sode                           Associate                         16.4                    $350.00                $5,740.00
                                                                                                                           --   - --------   -----

  Whitney Gillaspie                       Paralegal                         24.3                    $200.00                $4,860.00

                                                                                                   Subtotal               $16,822.92

                                                                                                        Total             $16,822.92




  Detailed Statement of Account

  Other Invoices

     Invoice Number              Due On               Amount Due           Payments Received                        Balance Due

  20243592                     10/19/2024                $69,984.40                                     $0.00             $69,984.40




                                                        Page 4 of 5
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 Case23-20084-rlj7
Case  23-20084-rlj7 Doc
                     Doc314
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                                                                             Desc Main
                          Exhibit Exhibit APage
                            Document         Page
                                                28 6ofof3237




      20244063                     11/14/2024       $56 ,564.76                      $0.00     $56,564.76


       Current Invoice

          Invoice Number            Due On      Amount Due          Payments Received        Balance Due

      20243162                     09/19/2024       $16 ,822.92                      $0.00     $16,822.92

                                                                       Outstanding Balance    $143,372.08

                                                                  Total Amount Outstanding    $143,372.08




      Please make all amounts payable to : LYNN PINKER HURST & SCHWEGMANN, L.L.P.
      Tax ID XX-XXXXXXX

      Please pay within 30 days.




                                                   Page 5 of 5
 Case23-20084-rlj7
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   LYNN
   PINKER
   HURST &
  -SCHW~GMANN

  LYNN PINKER HURST & SCHWEGMANN, L.L.P.
  2100 Ross Avenue, Suite 2700
  Dallas, Texas 75201
  Phone: 214.981 .3800
  www.lynnllp.com
                                                                                                Invoice# 20243592
                                                                                                  Date: 09/19/2024
                                                                                                Due On: 10/19/2024



  Kent Ries
  Law Office of Kent Ries
  P.O. Box 3100
  Austin, TX 79116




  (5707-00001) Ries: In Re McClain Farms, Inc.; In Re McClain Feed Yard,
  Inc.; and In Re 7M Cattle Feeders, Inc.

  In Re McClain Farms, Inc.; In Re McClain Feed Yard, Inc.; and In Re
  7M Cattle Feeders, Inc.
  Client Reference Number:

   Services

      Date      TK          Description                                                         Hours       Total

   08/01/2024   KER         Meet with Mses. Gillaspie, Lawrence, and Lopez to discuss search      0.50    $150.00
                            terms and case background for review of produced documents.

   08/01/2024   WG          Prepare link containing zip files confirmed for review on DISCO       3.90    $780.00
                            (1 .0);
                            confer with Lino Gonzales at Pinnacle confirming pricing of the
                            above (0.2);
                            confer with Mr. Jobe regarding DISCO pricing (0.2);
                            call with Mr. Jobe regarding
                            analyze documents pertaining to

                            (0.4);
                            meeting with Mr. Sode to discuss protocol and next steps in terms
                            of document review (0.5) ;
                            meeting with review team to establish game plan for document
                            review (0.9) ;




                                                       Page 1 of 11
 Case23-20084-rlj7
Case  23-20084-rlj7 Doc
                     Doc314
                         312-1
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                                    12/06/24      Entered
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                          Exhibit Exhibit APage
                            Document         Page
                                                30 8ofof3237




                     review the Motion for Relief from Stay filed by Citizens Bank, add
                     hearing details to the calendar, maintain filings in the case file (0.2).

  08/01/2024   ADL   Meet with Mses. Gillaspie, Rastegar and Lopez regarding                     0.50    $150 .00
                     upcoming document review.

  08/01/2024   PCS   Case team meeting with Ms. Gillaspie to strategize document                 0.40    $140.00
                     review process for implementation by eDiscovery team.

  08/01/2024   MAL   Attend team meeting to discuss document review.                             0.50    $150.00

  08/02/2024   WG    Discuss database with Lino Gonzales at Pinnacle (0.3);                      0.90    $180.00
                     quality check of link containing zip files confirmed for review on
                     DISCO (0.5);
                     email to Mr. Gonzales the above for ingest (0.1).

  08/02/2024   PCS   Begin analyzing legal authorities relevant t o - - - -                      1.90    $665.00
                     claims to synthesize potential c l a i m s - - - -

  08/04/2024   WG    Review motion and ensure deadlines calendared (0.4);                        4.40    $880.00
                     perform quality check of link received from HJ containing various
                     related bankruptcy cases and adversary proceedings, maintain in
                     case file (0.8);
                     analysis of documents and prepare outline, identify corrupted and
                     missing files, perform transfer to case file ahead of revising
                     Document Index (3.2).

  08/04/2024   AD    Attention to status and next steps.                                         0.20     $90.00

  08/05/2024   WG    Review Trustee's Amended Notice of Hearing and revise the                   3.30    $660.00
                     calendar accordingly, make note of dual ~earings on both calendar
                     entries (0.2);
                     review and maintain attorney call notes regarding plan for
                     assessing claims                                        (0.1 );
                     complete extensive analysis of documents, identify corrupted and
                     missing files, download files received from client and transfer to
                     case file ahead of revising Document Index (3.0).

  08/05/2024   PCS                                                                               8.80   $3,080.00




                     Begin drafting and writing case overview and potential claims
                     memo for circulation to document review team (3.7)

  08/05/2024   AD    Teams meeting with Messrs. Jobe and Rae regarding document                  0.50    $225.00
                     review and analysis plan.

  08/05/2024   AD    Exchange emails with Mr. Jobe regarding hearing date on motion              0.20     $90.00
                     to compel Rabo .

  08/06/2024   PCS                                                                               8.40   $2,940.00


                     defendants (3.7).

                     Draft and revise comprehensive case overview and document




                                                  Page 2 of 11
 Case23-20084-rlj7
Case  23-20084-rlj7 Doc
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                         312-1
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                          Exhibit Exhibit APage
                            Document         Page
                                                31 9ofof3237




                                    review memorandum to incorporate above claims (4.7).

   08/06/2024               WG      Perform comparison of documents reviewed with Mr. Ries's list and      4.30    $860.00
                                    confirm documents on database, search for loan ledgers (0.9);
                                    analyze additional documents received from the client for chart
                                    revisions (1.2);
                                    draft chart listing all parties and counsel of record (2.2).

   08/06/2024               AOL     Review and respond to correspondence from Ms. Gillaspie                0.30       $90.00
                                    regarding document review; confer with Mses. Gillaspie and Lopez
                                    regarding document review.

   08/06/2024               AD      Review emails from Mr. Cass regarding documents.                       0.20       $90.00

   08/07/2024               PCS     Draft and revise comprehensive case overview, potential claims,        4.30   $1 ,505.00
                                    and document review memorandum by adding additional
                                    arguments and legal authorities throughout (1.9).




   08/07/2024               WG                                                                             3.00     $600.00

                                    email to Rick Cass and team with the above (0.2) .
                                                                                                                   ------   ---~-----
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   08/07/2024               AOL     Correspondence with Ms. Gillaspie regarding client research            1.80     $540.00
                                    request; research database for requested loan documents.

   08/07/2024               AD      Analysis of case memorandum.                                           0.50     $225.00
  ---~----    ·---~---·- " ·- ·--

   08/07/2024               AD      Exchange emails with Mr. Jobe regarding status.                        0.20        $90.00

   08/08/2024               WG      Call with Hudson Jobe confirming our team's review of Rabo's           6.70   $1 ,340.00
                                    production and provide highlight excerpt of index (0.2) ;
                                    prepare Rabo's full production for ingest on to DISCO and confirm
                                    with review team (0.3);
                                    revise the Case Document Index to highlight documents currently
                                    under review (0.4);
                                    review and respond to the email from Rick Cass regarding Rabe
                                    documents, fcll■■■■■■■■ Rick Cass for reference
                                    (0.2);
                                    organize and identify by bates ranges documents relevant to
                                    specified loan ledgers (0.9) ;
                                    prepare detailed email to Rick Cass providing the above (0.3);
                                    continue analyzing documents and revising the Master Index (4.4).

   08/08/2024               AOL     Correspondence with Ms. Gillaspie regarding client research            0.80     $240.00
                                    request; research loan documents in document database.

   08/09/2024               PCS     Prepare for and participate in strategy and analysis conference call   3.10   $1,085.00
                                    with Messrs. Dabdoub and Jobe (0.9).




                                                               Page 3 of 11
 Case23-20084-rlj7
Case  23-20084-rlj7 Doc
                     Doc314
                         312-1    Filed
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                          Exhibit Exhibit A Page
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                                                 3210
                                                    of of
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  08/09/2024   AD     Teams call with Messrs. Jobe and Sode regarding potential claims.     0.50    $225.00

  08/11/2024   WG     Continue revising Master Index of case documents.                     1.00    $200.00

  08/12/2024   WG     Call with Rick Cass regarding case documents and document             5.40   $1 ,080.00
                      review (0.5);
                      draft detailed chart outlining documents on DISCO and on the
                      Master Index (1 .5) ;
                      determine file size of all CFSB and Mechanics Bank statements via
                      file conversion (0.8);
                      review and respond to email from Hudson Jobe regarding review of
                      bank statements (0.2) ;
                      perform comparison of documents on OneDrive with what has been
                      downloaded to ensure all files successfully transferred , identify
                      errors and prepare bank statements from CFSB and Mechanics
                      Bank for ingest to DISCO (1.9);
                      continue revising the Master Index (0.5).

  08/12/2024   AD     Edit claims memorandum.                                               0.50     $225.00

  08/13/2024   WG     Perform quality check of bank statements from CFSB and                1.80     $360.00
                      Mechanics Bank, email to Pinnacle for ingest (0.5);
                      email to Rick Cass regarding the ingest and forwarding DISCO
                      search manual (0.2);
                      complete list of parties and counsel with excerpts based on
                      importance, circulate to team for reference (1 .1).

  08/13/2024   PCS    Case team meeting to identify key defendants for focus during         0.40     $140.00
                      document review process (0.2) .

                      Email correspondence with case team regarding document review
                      issues and strategy (0.2).

  08/14/2024   WG      Continue updates to the Master Index based on document review,       8.40   $1,680.00
                       beg in extensive analysis of files received from Lain Faulkner to
                       identify download errors in comparison with the links and files on
                       OneDrive, determine empty folders and duplicates, revise the index
                       accordingly (6.9);
                       call with Rick Cass regarding DISCO database and document
                       review (0.5);
                       document discussions with Mr. Sode (0.4);
                       meeting with team regarding status update of document review
                       (0.5);
                       review and respond to email from Mr. Jobe providing status update
                     . (0.1 ).

  08/14/2024   PCS    Prepare for and participate in strategy meeting with case team        3.30   $1,155.00
                      regarding document review project management and next steps
                      (1.4) .

                      Analyze substantive information about potential legal claims

                                             (1.9).

  08/14/2024   AD     Meeting with team regarding document review and tagging.              0.50     $225.00

  08/14/2024   AOL    Meet with Messrs. Dabdoub and Sode and Ms. Gillaspie regarding        0.60     $180.00




                                                 Page 4 of 11
